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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

TRENTON NILES,

                 Plaintiff,

        -v-                                                    No. 17 CV 1437-LTS-BCM

POLICE OFFICER PATRICK O’DONNELL,
Shield #27349, and POLICE OFFICER
MATTHEW MCCARTHY, Shield #02756,

                 Defendants.

-------------------------------------------------------x

                                                     ORDER


LAURA TAYLOR SWAIN, United States District Judge


                    ORDER ADOPTING REPORT & RECOMMENDATION


                 The Court has reviewed Magistrate Judge Moses’s July 17, 2018 Report and

Recommendation (docket entry no. 56) and her February 21, 2019 Report and Recommendation

(docket entry no. 73) (collectively, the “Reports”), which recommend that the Court deny

Plaintiff’s “dispositive motion” (construed as a motion for summary judgment) (docket entry no.

53) and grant Defendants’ motion for summary judgment (docket entry no. 58). No objections to

the Reports have been received.

                 In reviewing a report and recommendation, a district court “may accept, reject, or

modify, in whole or in part, the findings or recommendations made by the magistrate [judge].”

28 U.S.C.A. § 636(b)(1)(C) (LexisNexis 2017). “In a case such as this one, where no timely

objection has been made, a district court need only satisfy itself that there is no clear error on the
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face of the record.” Johnson v. New York University School of Education, No. 00 Civ. 8117, at

*1, 2003 WL 21433443 (S.D.N.Y. June 16, 2003).

               The Court has reviewed carefully Magistrate Judge Moses’s thorough and well-

reasoned Reports and finds no clear error. The Court therefore adopts the Reports in their

entirety for the reasons stated therein. Accordingly, Plaintiff’s motion is denied and Defendants’

motion for summary judgment is granted, and this action is accordingly dismissed.

               The Court also certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from

this order would not be taken in good faith. See Coppedge v. United States, 369 U.S. 438, 444

(1962).

               This Order resolves docket entry nos. 53 and 58. The Clerk of Court is requested

to enter judgment accordingly and close the case.




          SO ORDERED.

Dated: New York, New York
       March 28, 2019

                                                            /s/ Laura Taylor Swain
                                                            LAURA TAYLOR SWAIN
                                                            United States District Judge


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